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 3                             UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5    SEAN E. COOTS,                                         Case No. 3:19-cv-00689-LRH-CLB
 6                                        Petitioner,
             v.                                                         ORDER
 7
      ISIDRO BACA, et al.,
 8
                                       Respondents.
 9

10          Good cause appearing, Respondents’ Motion for Enlargement of Time (ECF No. 13) is
11   GRANTED. Respondents have until August 22, 2020, to answer or otherwise respond to the
12   amended petition for writ of habeas corpus in this case.
13          DATED this 9th day of July, 2020.
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                                                            LARRY R. HICKS
16                                                          UNITED STATES DISTRICT JUDGE
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